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EXHIBIT 1
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Page 309
1. UNITED STATES DISTRICT COURT '
DISTRICT OF MASSACHUSETTS
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)

4 In re: NEURONTIN MARKETING, )
SALES PRACTICES, AND PRODUCTS)

5 LIABILITY LITIGATION, )

)

 

6

7 VOLUME ITI

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9 CONTINUED VIDEOTAPED DEPOSITION OF
10 RONALD Wm. MARIS, Ph.D.

11 (Taken by Defendant)

12 Columbia, South Carolina

13 Tuesday, September 30, 2008
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24 Reported in Stenotype by

V. Dario Stanziola, CSR, RPR, CRR

25 Transcript produced by computer-aided transcription

 

   

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Page 554 Page 556 J
1 as instructed? 1 fairly recently. :
2 A. I think that's possible. I think it's 2 Q. Well, when's the first time you learned
3 unlikely. 3 that Mr. Smith was diagnosed with anxiety and
4 Q. But you agree it's possible? 4 depression in May of 2003?
5 A. It's certainly possible. 5 A. I think it was always in the medical
6 Q. Would you agree it's a reasonable 6 records.
7 inference? 7 Q. Yeah, but I'm asking you when's the first
8 A. Idon't think so. I think it's a 8 time you read those medical records and learned that? |
9 stretch. 9 A. I--I'mnot sure. If what your
10 Q. You agree that Mr. Smith had depression [10 suggesting is that I read Dr. Trimble's deposition
11 before he ever took Neurontin, correct? 11 and that jogged my memory to go look it up, that's
12 A. A mild depression. 12 quite possible. The fact is I got it right.
13 Q. Well, you know that in May of 2003 he was | 13 Q. Is it significant to your opinion that Mr.
14 diagnosed with depression and anxiety, correct? | 14 Smith was diagnosed with depression and anxiety in
15 A. He was diagnosed -- he was -- he took 15 May of 2003 and was prescribed an antidepressant for
16 Elavil in May of 2001 from Dr. Cato. He also in 16 major depressive disorder and generalized anxiety
17 May 2nd of 2003 was given -- it was noted that he | 17 disorder at that time?
18 was depressed and anxious. 18 A. It's a compound --
19 By May 15th, 2003 he was diagnosed with {19 MR. SOH: Objection, form, foundation.
20 anxiety and depression by Dr. Cato, and he -- it 20 A. Yeah, compound question. And the problem
21 was noted in the record that he was taking Lexapro} 21 _ is --
22 and Desipramine, 25 milligrams, HS. 22 Q. Are you asserting an objection, Dr. Maris?
23 Q. Now, where is that in your report? 23 A. No, I'm saying that I can't answer your
24 I don't see that. 24 question as stated.
25 A. I've got handwriting. 25 Q. Okay. Let me restate it.
Page 555 Page 55
1 Q. Allright. Then may I borrow that? 1 Is it significant to your opinion that Mr.
2 A. T'll probably never get it back. 2 Smith was diagnosed in May of 2003 with depression
3 Q. Now, that's something you went -- you 3 and anxiety for which he was prescribed Lexapro,
4 didn't include information about Mr. Smith's 4 which is indicated for the use of major depressive
5 diagnosed anxiety and depression in May of 2003 in 5 disorder and generalized anxiety disorder?
6 your original report, correct? 6 A. Ican say yes, but I can't say a simple
7 A. I kept working from December to now, so 7 yes because Lexapro is also for other things than
8 itis correct. 8 major depression.
9 Q. And what did you look at to conclude that, 9 Q. Okay. Do you think he was prescribed
10 in fact, Mr. Smith was diagnosed with anxiety and 10 Lexapro for depression?
11 depression in May of 2003? 11 A. Yes. But we don't know if it was major
12 A. The medical records. 12 depression, which is a technical category within
13 Q. Of whom? 13 the DSM, which I've never seen him given that
14 A. Probably Cato, yes. 14. diagnosis.
15 Q. Okay. Did you make these notes on your 15 Q. Did you go back and try to determine
16 report in pencil here after you read the deposition 16 whether Mr. Smith had a major depressive disorder in
17 of Dr. Trimble? 17 May of 2003?
18 A. Possibly. I don't know exactly when I 18 A. I think it's in my report.
19 made them. I know that they were including the -- 19 Q. Where is it in your report?
20 I think it was the Exhibit 5 addendum of evidence, 20 Okay. I have your report.
21 after I read all of that, which included Dr. 21 A. I'mnot sure. It says 2003. I think I
22 Trimble. But I don't know if it was specifically 22 said it -- by the time that we reached 2004,
23 after Trimble. 23 there's an explicit section in my report on the
24 T have no idea when I made those. I 24 question that you're asking me, which is the
25 mean, they were made between December and probably |25 depression level of Richard Smith. And it starts

   

 

"63 (Pages 55¢ to 557)

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Page 570 Page 572 :
1 Q. Did you just X out on the document of the 1 A. Berklacich, It's 2/27, 28,03. Andit =|
2 psychological autopsy, which is Exhibit 30, the 2 diagnosed -- under the new patient questionnaire it
3 portion of the sentence that says however, decedent } 3 mentioned depression, pain, and again another
4 was never diagnosed nor treated for depression? 4 reference to sleep disorder.
5 You X'd out never diagnosed nor, and you 5 Q. And so that's 2/27 of 2003, correct?
6 wrote in diagnosed -- 6 A. Right.
7 A. And. 7 This reference to new patient
8 Q. -- and. 8 questionnaires confused me because it probably
9 Okay. So now is that corrected? 9 wasn't Dr. Hampf because he also did one.
10 A. Yes, 10 Q. Okay.
it Q. Thank you. 11 A. But the one I have is a reference to
12 If you could turn to page 18 of your 12 2/27, 28 of '03.
13 report. On the very top -- 13 Q. Okay. And so I just want to understand
14 A. Yes. 14 this. For depressed mood most of the day nearly
15 Q. -- you say Richard never saw any 15 every day, your diagnosis on page 19 of your report
16 psychiatrist nor received any DSM diagnosis for 16 you're referring to a 2003 record of depression
17 depression or mood disorder. 17 because of pain and lack of sleep?
18 Is that also incorrect? 18 A. And plus the other references that I've
19 A. That's probably incorrect. The problem 19 already given you to Cato.
20 is I -- what I mean by DSM diagnosis is something | 20 Q. Okay. And -- and you understand the 2003
21 like 296.23, which is a code in the DSM which means] 21 __ record is pre-Neurontin, correct? F
22 major depression, first episode, serious without 22 A. Correct.
23 psychosis, 23 Q. Okay.
24 He did give a word depression so that to 24 A. Incidentally, when he started taking
25 that extent, it's not right. But I never saw any 25 Neurontin, they wanted him to get tested for a
Page 571 Page 573 :
1 DSM diagnostic code which is required for insurance 1 psychiatric disorder.
2 purposes. 2 Q. Right.
3 Q. Okay. So if -- if Dr. Cato had actually 3 Why do you think that is?
4 listed a DSM diagnostic code alongside his reference 4 A. I don't know why. You can ask Dr.
5 to depression and anxiety, then this statement in 5 Mackey. Apparently, he showed signs -- you know,
6 your report would be wrong? 6 when you have somebody who's elderly, you often
7 A. That's correct. 7 suspect -- that is to say, Rule 65, you often
8 Q. Okay. Going back to your psychological 8 suspect that there may be dementia involved because
9 autopsy on page 26, okay? Now, let me just remind 9 it's so common, and usually it's Alzheimer's type.
10 you we're talking about your major depressive 10 But I don't know why. You'd have to ask
11 disorder diagnosis on page 19 of your report, and you |11 him. Maybe he looked confused. Maybe he was
12 say you rely on psychological autopsy question 1 12 forgetting things.
13 related to Dr. Hampf's new patient questionnaire, 13 Q. We'll come back to that.
14 right? 14 Okay. Also in your report on page 19 you
15 A. Yes. 15 say after taking Neurontin, Smith had all nine
16 Q. What is the date of Dr. Hampf's new patient [16 criteria required for a DSM diagnosis of major
17 questionnaire where the decedent notes he is 17 depressive disorder.
18 depressed because of lack of pain -- because of pain | 18 And then you cite to some DSM-IV codes,
19 and lack of sleep? 19 right?
20 A. The one I have in my treatment history 20 A. Yes.
21 was from Dr. Berklacich, Berklacich, however you 21 Q. And one of the codes is 296.33, correct?
22 pronounce his name. 22 A. Right.
23 Q. You know, I still to this day don't know. 23 Q. And you know what that code is for, right?
24 MS. SEATON: It's Berklacich. 24 A. Of course, that's why I wrote it..
25 Q. Berklacich. 25 Q. Yeah.

 

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Page 594 Page 596 F
1 we just talked about, right? 1 Q. And it says he's requesting surgery
2 A. Right. 2 scheduled for 4/16/03 to be canceled?
3 Q. And I just do want you to note at the 3 A. Right.
4 bottom of the first paragraph the record states -- it | 4 Q. And the patient stated, quote, I've talked
5 says pain does disrupt his sleep, right? 5 with my family and they want me to try conservative
6 A. Right. 6 treatment first. I'm going to try physical therapy
7 Q. As you reviewed Mr. Smith -- Mr. Smith's 7 anda block and see if I get better, end quote.
8 medical records, you agree that his pain often 8 A. Right.
9 disrupted his sleep, right? 9 Q. And then the note says that the office --
10 I mean, is that sort of a consistent trait 10 the person -- well, I don't know if this is the
11 when he had pain? 11 physician. The nurse's note, the nurse says: I
12 A. I think so. 12 explained to him that was fine, but I want him to
13 Q. Okay. If you'll turn to page 50. At the 13 understand if he should decide to reschedule, it will
14. top it says February 28, 2003, the office received a {14 be ata later date.
15 call from the patient's wife. 15 The patient says he understands, right?
16 Are you with me? 16 A. Um-hum. Yes.
17 A. My pages are out of number now. It goes | 17 Q. If you turn the page, it's the very next
18 48, 32. 18 day, March 5, 2003.
19 Q. Oh, I'm sorry. Keep going toward the back. | 19 Do you see that?
20 It's when you get to the office notes and the 20 A. Yes.
21 handwritten -- 21 Q. And the -- Mrs. Smith calls back, and she
22 A. Okay. I got it. 22 requests that her husband be put back on the surgery
23 Q. There you go. Sorry. 23 schedule, right?
24 The office received a call from Mrs. Smith, 24 A. Right.
25 the patient's wife, because -- and they want to pick | 25 Q. And what she says is, quote, I don't know
Page 595 Page 597
1 up the MRI film because they don't feel that Mr. 1 what's wrong with Richard. He's in so much pain, I
2 Smith can wait until April 16th for his surgery. 2 think he is out of his mind. He saw Dr. McCombs on
3 Do you see that? 3 Monday, and we didn't even talk about surgery. He
4 A. Right. 4 suggested nerve blocks and physical therapy, but I
5 Q. And they want to take -- they want to make | 5 know that is not a cure and Richard is not going to
6 an appointment with Dr. McCombs, right? 6 get better until he has surgery.
7 A. Right. 7 Is that reflected anywhere in your
8 Q. To be seen, 8 treatment record?
9 Is Dr. McCombs a surgeon; do you know? 9 A. Ijust added it.
10 A. Yes, yes. 10 Q. Oh, you just added it?
11 Q. And then the very next -- well, it's not ii A. Yeah.
12 the very next day. On March 3, the patient's wife 12 Q. Is that -- is that significant at ail to
13 apparently called again, right, per patient's wife? 13 your opinions in this case about his condition in the
14 A. Yes. 14 spring of 2003?
15 Q. They changed their mind now, and they say [15 A. Sure. And he gets a laminectomy on
16 yeah, we want to keep the surgery scheduled on 16 April ist, and then after that he feels a lot
17 April 16th with Dr. Berklacich? 17 better.
18 A. Right. 18 Q. Well, not quite after that, but we'll get
19 Q. Right? 19 there.
20 A. Right. 20 MR. ROSENKRANZ: Objection.
21 Q. The very next day on March 4, the office of |} 21 A. By 4/21/03 he says doing well and is
22 Dr. Hampf receives a call from Mr. Smith, right, from|22 pleased four weeks after his laminectomy.
23 the patient? 23 Q. Okay. We'll get there. I'm going to ask
24 Do you see that? 24 you some questions about that, okay?
25 _ Az «Right 25 A. Okay.

 

 

 

 

73 (Pages 594 to 597)

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Page 648
1 UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS
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4 in re: NEURONTIN MARKETING,  )
SALES PRACTICES, AND PRODUCTS)
5 LIABILITY LITIGATION, )
6
F
7 VOLUME III
8 /
9 CONTINUED VIDEOTAPED DEPOSITION OF
10 RONALD Wm. MARIS, Ph.D. :
11 _ (Taken by Defendant) :
12 Columbia, South Carolina
13 Wednesday, October 1, 2008
14 :
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16 |
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24 Reported in Stenotype by :
V. Dario Stanziola, CSR, RPR, CRR
25 Transcript. produced by computer-aided transcription

 

   

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Case 1:04-cv-10981-PBS Document 1714-2 Filed 03/12/09 Page 7 of 13

 

 

 

 

 

 

Page 669 Page 671 i
1 the medical records he reports sleep disorder. 1 psychiatric evaluation, right?
2 -Q. And Dr. Mackey actually testified that 2 A. Right. She had actually called March ist
3 insomnia is typical of people with chronic pain, 3 and mentioned suicide ideation, which she ;
4 right? Do you remember that testimony? 4 interpreted as suicide ideation. She called
5 A. Yes. 5 Mackey's office for this March 9th visit, and that
6 Q. And Ruth Smith testified that Richard 6 was probably part of his phone records that the
7 Smith's problems sleeping came on in connection with} 7 daughter was concerned about him. And -- and any
8 . the increasing pain he had, right? Do you remember | 8 time you mention suicide, they tend to get you to a
9 that testimony? 9 psychiatrist. oe
10 A. And to the point that they started 10 Q. And we talked about that yesterday, right?
11 sleeping in separate bedrooms because he was up -- | 11 A. Yes.
12 he was so restless at night that she couldn't sleep 12 Q. And so Dr. Mackey's note -- or Dr. Mackey
13. with him. 13 in his deposition said that he made an appointment
14 Q. Okay. Do you know when it was that they 14 for Mr. Smith to see a Dr. West. :
15 started sleeping in separate bedrooms? 15 Do you remember that testimony?
16 A. I don't remember, but I could go back and 16 A. Yes, I do.
17 look at the record. 17 Q. And that Mr. Smith did not keep that i
18 Q. Okay. You would agree that Mr. Smith's 18 appointment or -- or go -- go to see Dr. West? :
19 pain at -- at this time, on March 9th, was extremely 19 A. That's correct. :
20 severe, correct? 20 Q. Okay. Do you think that Mr. Smith had :
21 A. Gosh, I wish I had that pain scale, but 21 reluctance to visit a psychiatrist at this time H
22 __ it certainly was -- I don't know if I'd say 22 because of the factors we talked about yesterday, ;
23 extremely severe, because that sounds like a nine 23 being an elderly white male, having pride, and maybe ff
24 or ten instead of a seven or eight, and I don't 24 being somewhat reluctant to get psychiatric care?
25 know if I have the evidence for that. 25 A. You know, it’s hard to know. I think
Page 670 Page 672
1 Q. How about severe? 1 we're probably only speculating, because all we
2 A. It was severe. 2 know for a fact is that he was resistant to
3 Q. Okay. And on the pain scale that you 3 psychiatric treatment. We have -- I have no way of |)
4 looked at and perhaps made a note of, a seven was 4 getting in his mind. I mean, I can speculate that §
5 excruciating pain, right? 5 people don't want to be thought of as having i
6 A. Right, seven, eight is excruciating. 6 dementia or being unable to control their suicidal [f
7 Q. Do you know whether Dr. Mackey raised the | 7 impulses or whatever that he may have been H
8 possibility of surgery at this visit? 8 thinking. But I have no direct evidence what was
9 A. He said consider surgery and get a psych 9 in his mind, just the fact that he didn't keep the /
10 evaluation for dementia, both. 10 appointment. . i
11 Q. Okay. And so let's talk about the surgery 11 Q. Okay. That's fair. :
12 first. The note says that we discussed the 12 Do you believe that the recommendation to
13 possibility of surgery. We are going to go ahead and |13 see a psychiatrist at this point was based on both
14 make him an appointment to see Dr. Everette Howell. | 14 suicidal ideation and concern about possible /
15 And you're -- you're aware that Dr. Howell 15 dementia?
16 is a surgeon, right? 16 A. Yes.
17 A. Yes. 17 Q. And what are some of the symptoms of
18 Q. Okay. So at this point would you agree 18 dementia, if you know? 5
19 that Mr. Smith had an expectation that surgery was a | 19 A. Well, of course, I know. The most common
20 possibility? 20 type of dementia is Alzheimer's type. And the H
21 A. Yes. 21 prominent characteristic of Alzheimer's type
22 Q. His daughter -- the note says that his 22 dementia is memory impairment.
23 daughter, quote, raised the concern about whether or | 23 (Exhibit 39: A photocopy of a Medline
24 not there are some other issues going on. And on the | 24 Plus article marked for identification, as of H
25 basis of her concerns, Dr. Mackey recommended a 25 this date.)

 

~~ 7 (Pages 669 to 672)

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. Page 825 §
1. UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS
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4 In re: NEURONTIN MARKETING, )
SALES PRACTICES, AND PRODUCTS)
5 LIABILITY LITIGATION, )
j
6
7 : . VOLUME IV
3
9 CONTINUED VIDEOTAPED DEPOSITION OF
10 , RONALD Wm. MARIS, Ph.D.
11 (Taken by Defendant)
12 ' Columbia, South Carolina
300°C” “Monday, October 20, 2008
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24 Reported in Stenotype by
'V. Dario Stanziola, CSR, RPR, CRR .
25 Transcript produced by computer-aided transcription

 

 
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, Page 910 : : Page 912 f;
1 900 milligrams BID. 1 still opine that Neurontin caused the suicide? i
2 -Q. What's BID? 2 MR. ROSENKRANZ: Objection to the form of |:
3 A. That means twice a day. So it sounds 3 the question. 5
4 like she is getting 1,800. 4 A. No, of course not.
5 Q. Okay. Now keep going. 5 Q. Okay. So in order to opine that she -- that
6 A. And HS. So it sounds like she's getting 6 Neurontin caused her suicide, she had to be taking
7 alot more than 1,200 a day. — 7 Neurontin at the time, right?
8 Q. Okay. In fact, what's nine times three, 27? 8. A. Not at the time. She had to have been
9 A. Yep. .-| 9 taking it for some time. Plus I think at the time
10 Q. So she's getting -- she's being prescribed 10 as well.
11 2,700 milligrams of Neurontin in December of 2002, | 11 Q. Okay. Well, let's delve into that.
{12 right? 12 How fong could she have discontinued
13 A. Let me see here. Sounds like it. I 13 Neurontin use prior to the suicide and it would still
14 mean, I think that's ambiguous. But one way of. 14 in your opinion be.related to the Neurontin use?
15 reading it is she was getting that much. 15 A. Gosh, I don't know how to answer that.
16 Q. What's ambiguous about it? 16 I'm assuming that She was pretty much on Neurontin}
17 A. It's not really ambiguous. Just seems 17 right up from the time she started taking it in Hy
18 like a lot. 18 June 24th of 2002 pretty much right up until she
19 Q. Okay. So she's -- in December of 2002 19 died. Now, you're saying let's assume she wasn't. ff
20 she's being prescribed 2,700. milligrams a day. And | 20 So that's -- that assumes facts contrary to my
21 you'd agree with me that that is a much higher dose | 21 reading of the record. ;
22 than she was taking at the time of her death, right? | 22 Q. That wasn't -- I wasn't asking you to i
23 A. Right. 23 assume that though. I'm trying to understand if 3
24 Q. Okay. In order to opine that Susan 24 you're -- if you're going to tell a jury that she
25 Bulger’s suicide was caused by Neurontin, she had to! 25 didn't have to be taking Neurontin at the time of her |;
Page 911 Page 913 i
1 be taking Neurontin at the time of her death, right? 1 death, when could she have stopped taking Neurontin |.
2 A. Well, no, that's not true. We know she 2 and you would still opine that her death was caused [|
3 took it for some time. And I said there's two 3 by Neurontin? ;
4 effects of Neurontin, one is the -- for example, I 4 A. Well -- i
5 opine she may be on Effexor and Lexapro because the | 5 Q. Do you understand my question? B
6 Neurontin is making her depressed. 6 A. I'm not sure because I said before I i
7 Q. You know what, let's talk about. Let's talk 7 think she had to be taking it chronically and H
8 about Effexor. 8 acutely. i
9 A. Well, let me try to answer your first 9 Q. Okay. So then we agree. We agree thatin |
10 question before you change the question. You asked 10 order for you to opine that Neurontin caused her i
11 mea question, I haven't answered it yet. Could you 11 suicide, she had to be taking it at the time of her F
12 repeat the question? 12 death? E
13 Q. I'm not going to repeat the question. 13 A. And before her death. H
i4 MR. ROSENKRANZ: Can you read it back, 14 Q. Okay. Okay. I think we agree. 3
15 please. 15 A. Yeah. |
16 MS. SEATON: You could read it back. 16 Q. Do you remember the Giles case? I
17 (THE QUESTION WAS READ BACK.) 17 A. Ido. That was an Effexor case in
i8 A. And my answer was yes and no. I think 18 southern Illinois of a mine worker.
19 there were two effects; one was the long-term 19 Q. Do you recall drafting an expert report in
20 effect of taking Neurontin and one was the acute 20 which you stated that absent Effexor Jeff had
21 = effect of taking Neurontin. So you can have a kind 21 stoically managed years of injuries, work disruptions
22 of -- you can have a long-term effect and a 22 and physical pain without attempting or even thinking |:
23 short-term effect. 23 about suicide?
24 Q. Okay. But you're not going to tell a jury 24 A. Yes.
25 that somebody could not be taking Neurontin and you'd | 25 Q. Do you recail opining in the Giles case

 

 

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"23 (Pages 910 to 913)

 
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24 (Pages 914t0917)

 

 

: Page 914 Page 916
1 that, quote, I'm not arguing that Effexor was the one 1 Effexor and Lexapro could have been intensified
2 and only cause. Clearly depressive disorder, 2 because she was taking Neurontin. That is, one
3 physical injuries, family history of depression, ~ 3 frequent side effect of Neurontin is depression.
4 chronic pain, unemployment were all suicidogenic too. | 4 Q. No, I get that. i
5 However, Jeff lived with these stressors for many 5 But I want to a understand the methodology |}
6 years. It was after starting Effexor. Effexor was 6 by which you concluded that it wasn't the Effexor, it )
7 the scale tipper, just the noticeable difference 7 was the Neurontin.
8 maker pushing him over the edge. 8 A. I'm not sure I can convince you of that.
9 Do you recall giving that opinion in the 9 But I think that to the degree she was on Effexor, |
10 Giles case? 10 that the Neurontin caused that, so the Neurontin =|;
11 A. Ido. In fact, I testified to that in — 11 caused the Effexor. So if the Effexor caused the i
12 Smith, you asked me that same -- when Lori asked me | 12 suicide, the Neurontin caused the Effexor, if that
13 that same question. 13 makes sense.
14 Q. Okay. Weil, I'm trying to lay a foundation. 14 Q. It doesn’t make sense, but I'm going to let
15 A. Okay. 15 itsit.
16 Q. So in the Giles case it was your opinion 16 A. In other words, she had a worsened f
17 that Effexor had pushed the decedent over the edge, | 17 depression because she was taking Neurontin. That }}
18 right? 18 in Goldman's mind necessitated her taking an.
19 A. Right. 19 antidepressant. As you said, it came after
20 Q. Okay. And you acknowledge i in your report 20 Neurontin. But the other thing is I don't think
21 that Susan Bulger was taking Effexor at the time of 21 - it's -- I don't think it's been proven clearly that
22 her death, yes? 22 Effexor does cause suicide. . :
23 A. She was taking Effexor, yes. 23 Q. Well, Dr. Maris -- :
24 Q. Okay. Can we agree that she was first 24 A. Iwas wrong. I was wrong in that case :
25 prescribed Effexor in December of 2003? 25 apparently. :
Page 915 Page 917 :
1 A. Let me just check my records here. 1 Q. Really? 4
2 Q. Okay. 2 A. Yeah.
3 A. Actually, I've got November 6, 2003. 3 Q. You gave an expert report in which said
4 Q. Okay. So she begins taking Effexor 4 that Effexor caused Jeff Giles' death and you were
5 November 6, 2003? 5 wrong?
6 A. Right. By Dr. Goldman. 6 A. Iwas wrong in the sense that the jury
7 Q. Okay. That's after Neurontin was 7 didn't agree with me.
8 introduced, right? 8 Q. Well, do you still believe that Effexor
9 A. Right. 9 caused Jeff Giles’ suicide? ,
10 Q. Okay. She begins taking Effexor 10 A. Istill believe that it did, yes. My own
11 November 2003 and she suicides in August of 2004.] 11 opinion is that it did. But I'm just pointing out i
12 Did you rule out Effexor as the tipping 12 that that -- a lot of people didn't share that :
13 factor or noticeable difference maker in this case? | 13 opinion. I would still stand by the report andthe =|;
14 A. Yes. 14 mechanisms of causing it. So yeah, I -- I would :
15 Q. How? 15 suggest that that's still -- still my opinion. :
16 A. Well, for one thing we lost the Giles 16 Q. Okay. And what I'm trying to understand is }
17 case 17 if it was Effexor in the Giles case, how did you
18 Q. Okay. 18 exdude Effexor in the Bulger case?
19 A. So the jury and the judge did not agree 19 A. Because there was Neurontin and because [
20 with that hypothesis. 20 the Effexor was transitory and because I -- 3
21 Q. Okay. But that's not -- I want to 21 Q. Well, di, di, di --
22 understand did you -- you excluded Effexor as the | 22 A. Let me finish my answer.
23 cause of Susan Bulger's suicide? 23 Q. Okay, okay.
24 A. IthinkI did. And I think I also 24 A. And I didn't see the same side effects
25 suggested that her depression and her need for 25 with Effexor that I saw in the Giles case.

 

 

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Page 918 So Page 920 |}
1 Q. Like what? 1 Q. Right.
2 -A. Well, I don't remember the Giles case in 2 And you acknowledge that at the time of her |:
3 enough detail. But if I could look at it and go 3 death she was taking Effexor, according to Ron :
_ 4 over the side effects that are common with Effexor. | 4 Bulger, right? ~
5 Q. Well, it's -- I mean, it's interesting 5 A. Right. And, of course, it wasn't found
6 because it’s -- basicaily it sounds just like the 6 in her blood toxicology either.
7 Bulger case. In your report in Giles, you're talking | 7 Q. Well, neither was Neurontin, right?
8 about I'm not arguing that Effexor was the one and | 8 A. They didn't test for Neurontin.
9 only cause. Clearly depressive disorder, physical 9 Q. Right.
10 injuries, family history of depression, chronic pain, | 10 And they didn't test for Effexor?
11 unemployment were all suicidogenic too. However, | 11 A. I don't know. That's a good question.
12 Jeff lived with these stressors for many years. It 12 Q. You would agree with me that Ron Bulger
13__was after starting Effexor. Effexor was the scale 13 told the police that Susan was taking Effexor at the
14 tipper, just the noticeable difference maker pushing | 14 _ time, right?
15 him over the edge. To me that sounds just like the | 15 A. I believe that's true, yes.
16 Susan Bulger case. , 16 Q. Okay. And so do you have any reason to
17 A. No, you're not even -- 17 dispute that Susan Bulger was prescribed and took
18 MR. ROSENKRANZ: Objection to form. 18 Effexor continuously or as prescribed from -- from
19 A. You're not -- 19 November 2003 until her suicide?
20 ' MR. ROSENKRANZ: You're not testifying, 20 A. I just don't know the answer to that.
21 counselor. 21 Q. Okay. But you have no reason to dispute
22 A. You're not even addressing the issue that 22 that, right?
23 I'm raising, which is in that case what are the 23 A. Well, the time she stopped taking her
24 purported adverse effects of taking Effexor in the 24 medicines without telling anybody. So it's
25 Giles case. 25 possible.
Page 919 Page 921
1 Q. Well, I assume that in the Giles case you 1 Q. Okay. We've been going for about another
2 Said that the Effexor made Jeff Giles' depression 2 hour. If you'd like --
3 worse? , 3 A. We have?
4 A. T don't know. We'd have to go back and 4 Q. Yes. I know.
5 look. There's specific side effects for each drug. 5 Do you mind if we --
6 Q. Okay. If in fact in the Giles case you 6: MR. ROSENKRANZ: It's a little under an
| 7 testified that the Effexor made the depression worse, | 7 hour.
8 and in this case you're saying the Neurontin made 8 MS. SEATON: Okay. Well, can we take five
9 Susan Bulger's depression worse, how do you know it | 9 minutes?
10 wasn't the Effexor that made her depression worse? | 10 A. Sure.
il A. I don't know for a hundred percent, I 11 Q. Great.
12 agree. And I -- but I do think she's on Effexor 12 THE VIDEOGRAPHER: End of tape number two
13 partly because she's taking Neurontin. The 13 in the deposition of Dr. Ronald Maris, Volume
14 Neurontin caused .the Effexor. 14 I. The time is 10:52 a.m. We're now off the
15 Q. Okay. Now, I want to go back. You said 15 record.
16 something about you -- part of your methodology in | 16 (A BRIEF RECESS WAS TAKEN.)
17 excluding the Effexor was the fact that the Effexor 17 THE VIDEOGRAPHER: This is the beginning
18 was transitory, right? 18 of tape number three in the deposition of Dr.
19 A. Well, it certainly wasn't being taken at 19 Ronald Maris, Volume I. The time is
20 the same amount -- I don't know the treatment 20 10:59 a.m. We're back on the record.
21 history. When I see it for the first time here, I 21 Q. Dr. Maris, I want to go back to this issue
22 have to go back and look at the other times that it 22 and this opinion in your report where your say on
23 could have been prescribed. I know she was on 23 page 19, second, meaning your second opinion, Susan
24 Prozac, I know she was on Paxil. But I don't see 24 Bulger had clearly been ingesting Neurontin from at
25 any reference to the Effexor until 11/6/03. 25 least 10/20/99 until her death on August 4th, 2004.

    
  
   
    
     
   
   
    

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UNITED STATES DISTRICT COURT

DISTRICT OF MASSACHUSETTS

IN RE: NEURONTIN MARKETING,
SALES PRACTICES AND PRODUCTS

LIABILITY LITIGATION

VOLUME V

CONTINUED VIDEOTAPED DEPOSITION OF
RONALD WILLIAM MARIS, Ph.D.
(Taken by Defendant)
Columbia, South Carolina

. Wednesday, October 22, 2008

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1 took the Neurontin, right? 1 A. I believe that’s correct.

2 MR. ROSENKRANZ: Objection; asked and 2 Q. Are you aware Mrs. Bulger stopped

3 answered. 3 going to that counselor and group therapy 11

4 A. Ihave been asked that a number of 4 months prior to her death, because she found

5 times, and I said the only evidence is that she 5 Dr. Goldman, who would prescribe methadone to

6 asked for it immediately -- 6 her without requiring her to receive any

7 Q. Okay. 7 therapy?

8 A. -- before her suicide. 8 A. I believe that she did certainly find

9 Q. Did you -- are there any other 9 Goldman.

10 additional risk factors, other than the suicide 10 I don't know if he made that
11 attempts that you -- strike that -- 11 stipulation; I'll take your word for it.
12 Let me start over: 12 Q. Are you aware -- did you consider the :
13 I want to talk, Doctor, about this 13 fact that Susan Bulger received no counseling or =f.
14 methodology by which you reached an opinion that | 14 therapy for the 11 months prior to her suicide? Hl
15 Neurontin played some role in Susan Bulger's 15 A. Right. I'm aware of that. ;
16 suicide. 16 Q. In your expert opinion, would Susan
17 And, specifically, I want to know 17 Bulger have benefited from psychiatric treatment
18 what risk factors you considered, and how you 18 in 2004?
19 ruled out various risk factors. 19 A. She could have; although, she had had
20 Do you know whether lack of mental 20 treatment many times before.
21 health treatment is a risk factor for suicide? 21 I think you pointed out to me, she
22 A. It certainly can be, yes. 22 had never finished a detox program.
23 Q. Receiving counsel or seeking a 23 She was often non-compliant, and so
24 therapist can be a protective factor, correct? 24 I'mnot sure how much help she would have
25 A. If you have a good counselor. 25 gotten. |

Page 1251 Page 1253 |.

1 Q. You did not identify lack of mental 1 Q. Did you rule out the fact that Susan i

2 heaith treatment as a risk factor for 2 Bulger had stopped receiving counseling as the

3 Mrs. Bulger, correct? 3 cause of her suicide?

4 A. I did not. 4 A. First of all, I don't have the same

5 Q. And, in fact, you identified 5 model that you are assuming, which is a

6 treatment for depression as a protective factor 6 differential diagnosis model, where you rule out

7 in this case, correct? 7 the alternatives.

8 A. Actually, if you ever to get to my 8 My theory, as you know, is that I

9 new theory, I defined it as both, which is to 9 rule them in, and I talk about them actually
10 say: People who get treatment usually have some |10 contributing to making her part of a vuinerable
11 remission of symptoms, not always. 11. minority of patients --
12 For example, 60 to 70 percent of 12 Q. Well, Dr. Maris -- I
13 people taking an anti-depressant never have an 13 THE WITNESS: I'm not finished. :
14. anti-depressant effect. 14 MS. SEATON: Okay.
15 But -- so it helps them, but if there 15 A. And that by ruling them in, then the
16 are adverse events or adverse effects then, 16 Neurontin becomes an additional substantive ;
17 obviously, it can also hurt them. 17 proximate risk factor, not the only factor. H
18 Q. Are you aware that Susan Bulger had 18 So I'm not ruling these things out.
19 been seeing a counselor and receiving some group | 19 I never tried to rule them out. H
20 therapy between 2000 and 2003? 20 I'm saying that there was a :
21 A. Yes. 21 combination of effects and risk factors that
22 Q. And that was part of her -- one of 22 made her suicidal, and which Neurontin was one i
23 the requirements that, in order to get her 23 of them.
24 methadone, she had to attend the therapy 24 Q. You have testified in this i
25 sessions; is that right? 25 H

 

 

   

 

 

    
  

litigation, in addition to publicly stating,

 

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